Case 2:19-cv-02874-SVW-MAA Document 47-1 Filed 10/28/19 Page 1 of 7 Page ID #:274



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   12
                               UNITED STATES DISTRICT COURT
   13
                              CENTRAL DISTRICT OF CALIFORNIA
   14
                                        WESTERN DIVISION
   15
   16
   17   LEE WIGOD, individually and on             Case No. 2:19-cv-02874-SVW-MAA
        behalf of all others similarly situated,
   18                                              Assigned to Hon. Stephen V. Wilson
                         Plaintiff,
   19                                              DEFENDANT’S MEMORANDUM
              v.                                   OF POINTS AND AUTHORITIES
   20                                              IN SUPPORT OF ITS MOTION TO
        CALLFIRE, INC.,                            DISMISS PLAINTIFF’S
   21                                              COMPLAINT FOR LACK OF
                         Defendant.                SUBJECT MATTER
   22                                              JURISDICTION

   23                                              Hearing Date: November 25, 2019
                                                   Time:      1:30 P.M.
   24                                              Place:      10A
   25
                                                   Complaint filed: April 15, 2019
   26
   27
   28
                                                          CALLFIRE, INC.’S MEMO OF POINTS AND
                                                           AUTHORITIES ISO MOTION TO DISMISS
                                                                          2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 47-1 Filed 10/28/19 Page 2 of 7 Page ID #:275



    1                                    INTRODUCTION
    2         After allegedly receiving four—and only four—text messages on a phone
    3   that his wife leases and that is subscribed to an account that his wife owns, Plaintiff
    4   Lee Wigod (“Plaintiff”) brought this suit in federal court. As federal courts are
    5   courts of limited jurisdiction, however, Plaintiff cannot maintain this action. He
    6   suffered no injury in fact to provide him standing to sue because: 1) any alleged
    7   injury occurred to his wife, not to him; and 2) even if a Telephone Consumer
    8   Protection Act (“TCPA”) violation occurred, the receipt of four messages is not a
    9   concrete and particularized injury. Accordingly, the Court should dismiss
   10   Plaintiff’s Complaint for lack of subject matter jurisdiction.
   11                                 FACTUAL SUMMARY
   12         Plaintiff claims that four text messages concerning home warranties and
   13   health insurance injured him.1 See ECF No. 1 ¶¶ 13–18. According to Plaintiff,
   14   those four messages to the phone number ending in 2826 “interfered with Plaintiff’s
   15   use and enjoyment of his phone,” put “wear and tear on the phone’s hardware
   16   (including the phone’s battery),” and consumed his phone’s memory. Id. ¶ 22; see
   17   also id. ¶ 11. Moreover, without naming what privacy interest he has with respect
   18   to the phone number at issue, Plaintiff claims the four messages caused him
   19
        1
          While records indicate that more messages may have been transmitted to Plaintiff,
        Plaintiff has made no claim in these proceedings concerning those messages.
   20   Indeed, he has provided no evidence that he received any other messages, besides
        those identified in his Complaint. Further, other messages, besides the four at issue,
   21   would fall outside the definition of his putative class. That proposed definition only
        includes those who replied “stop” and received text messages after that opt out
   22   request. ECF No. 1 ¶ 27. Despite Plaintiff’s apparent fixation with the messages
        confirming a stop request, see, e.g., ECF No. 24 at 6, those too do not inflict an
   23   injury under either the TCPA or Article III. See Derby v. AOL, Inc., No. 15–cv–
        00452–RMW, 2015 WL 3477658, at *7 (N.D. Cal. June 1, 2015) (“Ultimately, the
   24   court finds that the confirmation text [confirming a stop request] at issue here is not
        actionable. Plaintiff’s own text precipitated the confirmation text, and by texting
   25   [the initiator] requesting to opt-out of future messages, plaintiff knowingly released
        his phone number to [the initiator] and thereby consented to be texted back at that
   26   number.”); Emanuel v. Los Angeles Lakers, Inc., No. CV 12-9936-GW SHX, 2013
        WL 1719035, at *3 (C.D. Cal. Apr. 18, 2013). Therefore, the fundamental issue
   27   concerns the four text messages Plaintiff’s Complaint alleges he received. See ECF
        No. 1 ¶ 18.
   28
                                                           CALLFIRE, INC.’S MEMO OF POINTS AND
                                                            AUTHORITIES ISO MOTION TO DISMISS
                                                  1                        2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 47-1 Filed 10/28/19 Page 3 of 7 Page ID #:276



    1   “annoyance, nuisance, and invasion of privacy.” Id. ¶ 21. Nowhere in his
    2   Complaint or elsewhere does Plaintiff claim he received the text messages at home
    3   or in some other space entitled to privacy protections.
    4         Discovery has revealed facts that foreclose any of Plaintiff’s claims to injury.
    5   Plaintiff does not pay the bill for service to the phone number ending in 2826 at
    6   issue, nor does he pay for the phone’s lease. Indeed, Plaintiff has had no job or
    7   other sources of compensation for at least the past four and half years—seriously
    8   calling into question his ability to pay for telephone service for a brand new iPhone.
    9   See Declaration of Michael B. Hazzard (“Hazzard Dec.”) Ex. 1, at 6–7. Rather, his
   10   wife, Lori Wigod, handles all relevant financial aspects of the phone plan for the
   11   phone number ending in 2826. See id. at 5. The Sprint account for the phone
   12   number is an unlimited phone plan with one flat monthly fee—no matter how many
   13   text messages are sent or received—and the account is in Lori Wigod’s name. See
   14   id. Ex. 2. Indeed, Plaintiff’s name appears nowhere on the account or account
   15   statements for the phone number ending in 2826. See id. Further, Lori Wigod, not
   16   Plaintiff, leases the iPhone X associated with the phone number ending in 2826.
   17   See id. Ex. 2, at 13; id. Ex. 3, at 22. That lease agreement, in Lori Wigod’s name,
   18   prevents her from transferring the phone “to any third party” until she pays for the
   19   phone in full. Id. Ex. 3, at 22. Further, Lori Wigod, not Plaintiff, agreed to pay
   20   each lease payment for the phone at issue. See id. The only connection linking
   21   Plaintiff to the phone number and phone at issue is his assertion, now contradicted
   22   by undisputed facts, that “his cellphone” received the allegedly unlawful text
   23   messages at issue. ECF No. 1 ¶ 12 (emphasis added).
   24                                  LEGAL STANDARD
   25         “A motion to dismiss under Rule 12(b)(1) addresses the court’s subject
   26   matter jurisdiction, derived from Article III of the United States Constitution.”
   27   Nat’l Union Fire Ins. Co. v. ESI Ergonomic Solutions, LLC, 342 F. Supp. 2d 853,
   28   861 (D. Ariz. 2004); see also Fed. R. Civ. Pro. 12(b)(1). “It is to be presumed that
                                                           CALLFIRE, INC.’S MEMO OF POINTS AND
                                                            AUTHORITIES ISO MOTION TO DISMISS
                                                   2                       2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 47-1 Filed 10/28/19 Page 4 of 7 Page ID #:277



    1   a cause lies outside of this limited [federal] jurisdiction, and the burden of
    2   establishing the contrary rests upon the party asserting jurisdiction.” Kokkonen v.
    3   Guardian Life Ins. Co., 511 U.S. 375, 377 (1994). A “factual attack on subject
    4   matter jurisdiction” allows a defendant to “rely on affidavits or any other evidence
    5   properly before the Court.” Nat’l Union, 342 F. Supp. 2d at 861 (quoting St. Clair
    6   v. City of Chico, 880 F.2d 199, 201 (9th Cir. 1989) (internal quotation marks
    7   omitted)). After the moving party presents evidence of a lack of subject matter
    8   jurisdiction, “[i]t then becomes necessary for the party opposing the motion to
    9   present affidavits or any other evidence necessary to satisfy its burden of
   10   establishing that the court, in fact, possesses subject matter jurisdiction.” St. Clair,
   11   880 F.2d at 201.
   12          “A suit brought by a plaintiff without Article III standing is not a ‘case or
   13   controversy,’ and an Article III federal court therefore lacks subject matter
   14   jurisdiction over the suit. In that event, the suit should be dismissed under Rule
   15   12(b)(1).” Cetacean Cmty. v. Bush, 386 F.3d 1169, 1174 (9th Cir. 2004) (citations
   16   omitted). “[T]he ‘irreducible constitutional minimum’ of standing consists of three
   17   elements . . . [t]he plaintiff must have (1) suffered an injury in fact, (2) that is fairly
   18   traceable to the challenged conduct of the defendant, and (3) that is likely to be
   19   redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540,
   20   1547 (2016). “To establish injury in fact, a plaintiff must show that he or she
   21   suffered ‘an invasion of a legally protected interest’ that is ‘concrete and
   22   particularized’ and ‘actual or imminent, not conjectural or hypothetical.’” Id. at
   23   1548 (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)). “A
   24   ‘concrete’ injury must be ‘de facto’; that is, it must actually exist” and not be
   25   “hypothetical or conjectural.” Id.; Salcedo v. Hanna, 936 F.3d 1162, 1167 (11th
   26   Cir. 2019). Importantly, “Article III standing requires a concrete injury even in the
   27   context of a statutory violation.” Spokeo, 136 S. Ct. at 1549.
   28
                                                              CALLFIRE, INC.’S MEMO OF POINTS AND
                                                               AUTHORITIES ISO MOTION TO DISMISS
                                                     3                        2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 47-1 Filed 10/28/19 Page 5 of 7 Page ID #:278



    1                                         ARGUMENT
    2   I.       PLAINTIFF SUFFERED NO INJURY IN FACT FROM FOUR TEXT
    3            MESSAGES SENT TO A PHONE LEASED BY HIS WIFE
    4            A mere four text messages transmitted to a phone his wife leases with service
    5   under his wife’s Sprint account cannot confer on Plaintiff standing to sue in federal
    6   court.
    7            First, any alleged injuries occurred to Plaintiff’s wife, Lori Wigod, not
    8   Plaintiff. Plaintiff’s tenuous connection to any economic injury is alleged wear and
    9   tear on the phone and its battery from receiving four text messages in addition to
   10   space on the phone’s memory. Even if all of those claimed ills occurred, and even
   11   if they met the threshold of an injury in fact, the dispositive fact is that they did not
   12   injure Plaintiff. While Plaintiff may use the phone associated with the number
   13   ending in 2826, it is not “his” phone. His wife leases the phone and is financially
   14   responsible for paying the lease. It is her phone. Any wear and tear occurred to
   15   Lori Wigod’s phone. Any depletion of battery, however minimal, afflicted Lori
   16   Wigod’s phone. Any memory lost affected Lori Wigod’s phone. Plaintiff’s wife
   17   also owns the Sprint account providing service to the phone, and thus any charges
   18   for text messages received would accrue to her. But Lori Wigod is subscribed to an
   19   unlimited plan, with no individual charges for text messages, so the alleged cost of
   20   any messages received could not have injured either Lori Wigod or Plaintiff. See
   21   Hazzard Dec. Ex. 2.
   22            Plaintiff himself can have no privacy interest in a phone leased by, paid for,
   23   and supplied by his wife. Though “Congress sought to protect” “privacy interests”
   24   by enacting the TCPA, that protection did not—and could not—expand Article III
   25   standing to allow plaintiffs to protect the privacy interests of others. Van Patten v.
   26   Vertical Fitness Group, LLC, 847 F.3d 1037, 1043 (9th Cir. 2017); see Spokeo, 136
   27   S.Ct. at 1547–48 (“Injury in fact is a constitutional requirement, and it is settled that
   28   Congress cannot erase Article III’s standing requirements by statutorily granting the
                                                              CALLFIRE, INC.’S MEMO OF POINTS AND
                                                               AUTHORITIES ISO MOTION TO DISMISS
                                                     4                        2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 47-1 Filed 10/28/19 Page 6 of 7 Page ID #:279



    1   right to sue to a plaintiff who would not otherwise have standing.” (citation and
    2   internal quotation marks omitted)). Injuries his wife may have suffered to her
    3   privacy cannot confer on Plaintiff Article III standing. See Elrawi v. Burgess, No.
    4   5:17-cv-02463 DMG (MAA), 2018 WL 4223652, at *8 (C.D. Cal. Sept. 5, 2018)
    5   (“To the extent Plaintiff asserts claims or seeks relief on behalf of his wife, he
    6   cannot represent her, and he does not have standing to bring claims for injuries she
    7   suffered.”).
    8         Second, even if Plaintiff himself received the text messages on his phone,
    9   four text messages do not make an injury in fact. The Ninth Circuit, in Van Patten,
   10   identified privacy interests as the heart of what Congress attempted to protect by
   11   enacting the TCPA. See 847 F.3d at 1043. More recent authority, however, casts
   12   doubt on the ability of a plaintiff to show either economic or intangible injury in
   13   fact from receiving a small number of text messages. See Salcedo v. Hanna, 936
   14   F.3d 1162 (11th Cir. 2019). In Salcedo, the Eleventh Circuit held that a TCPA
   15   plaintiff could not maintain Article III standing without—at the very least—
   16   allegations that a text message either disabled the use of the plaintiff’s phone and
   17   deprived him of its use, or that the message cost him some money. See id. at 1167–
   18   68. Those allegations are notably absent here.
   19         With regard to alleged privacy interests at stake, the Salcedo court reasoned
   20   that, as Congress passed the TCPA in 1991, long before the advent of text
   21   messaging, it could not have directed the statute toward text messages. See id. at
   22   1168–69. Rather, Congress focused on protecting “privacy within the sanctity of
   23   the home that do[es] not necessarily apply to text messaging.” Id. at 1169. Absent
   24   any claims that a plaintiff received text messages while at home—a claim which
   25   Plaintiff does not make—no injury in fact exists. See id. at 1172; see also id. at
   26   1170 (noting that Van Patten “stopped short of examining whether isolated text
   27   messages not received at home come within that judgment of Congress”). Indeed,
   28   “[t]he chirp, buzz, or blink of a cell phone receiving a single text message is more
                                                            CALLFIRE, INC.’S MEMO OF POINTS AND
                                                             AUTHORITIES ISO MOTION TO DISMISS
                                                   5                        2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 47-1 Filed 10/28/19 Page 7 of 7 Page ID #:280



    1   akin to walking down a busy sidewalk and having a flyer briefly waived in one’s
    2   face. Annoying, perhaps, but not a basis for invoking the jurisdiction of the federal
    3   courts.” Id. at 1172. Plaintiff’s perceived annoyance does not allow him to invoke
    4   the jurisdiction of the federal courts.
    5                                       CONCLUSION
    6         For the foregoing reasons, CallFire, Inc. respectfully requests that the Court
    7   dismiss Plaintiff’s Complaint in its entirety and with prejudice.
    8
        Dated: October 28, 2019                        Respectfully submitted,
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   11
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                                                           CALLFIRE, INC.’S MEMO OF POINTS AND
                                                            AUTHORITIES ISO MOTION TO DISMISS
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